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                    ATTACHMENT
                              A
                  Redacted Docket Materials
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR                   PR. No. 20-pr-139
 PRTT ORDER FOR ONE INSTAGRAM
 ACCOUNT FOR INVESTIGATION OF
 VIOLATION OF 18 U.S.C. 1073                    Filed Under Seal



Reference: USA() Ref.                     Subject Account: Instagram Acct.

                                      FIRST APPLICATION

       The United States of America, moving by and through Assistant United States Attorney

Nihar Mohanty, its undersigned counsel, respectfully submits under seal this ex parte application

for an order pursuant to 18 U.S.0 §§ 3122 and 3123, authorizing the installation and use of pen

register and trap and trace devices ("pen-trap devices") to record, decode, and/or capture dialing,

routing, addressing, and signaling information associated with each access to, and each

communication to or from, the Instagram Account (Facebook, Inc.) account identified as

                     (hereinafter "SUBJECT ACCOUNT"), which is believed to be used by

                   who is the subject of the investigation discussed below. In support of this

application, the United States asserts:

       1.      This is an application, made under 18 U.S.C. § 3122(a)(1), for an order under 18

U.S.C. § 3123 authorizing the installation and use of pen-trap devices.

       2.      Such an application must include three elements: (1) "the identity of the attorney

for the Government or the State law enforcement or investigative officer making the application";

(2) "the identity of the law enforcement agency conducting the investigation"; and (3) "a

certification by the applicant that the information likely to be obtained is relevant to an ongoing

criminal investigation being conducted by that agency." 18 U.S.C. § 3122(b).
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        3.     The undersigned applicant is an “attorney for the Government” as defined in Rule

1(b)(1) of the Federal Rules of Criminal Procedure.

        4.     The law enforcement agency conducting the investigation is the United States

Marshal Service (hereinafter “Agency”).

        5.     The applicant hereby certifies that the information likely to be obtained by the

requested pen-trap devices is relevant to an ongoing criminal investigation being conducted by the

Agency.

                                         JURISDICTION

        6.     This Court has jurisdiction to issue the requested Order because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 3127. 18 U.S.C. § 3122(a)(1). Specifically, the

Court is a “district court of the United States . . . that – has jurisdiction over the offense being

investigated.” 18 U.S.C. § 3127(2)(A)(i). As discussed more fully below, acts or omissions in

furtherance of the offenses under investigation occurred within Washington, DC. See 18 U.S.C. §

3237.

                                 ADDITIONAL INFORMATION

        7.     Other than the three elements described above, federal law does not require that an

application for an order authorizing or extending authorization for the installation and use of pen-

trap devices specify any facts. The following additional information is provided to demonstrate

that the order requested falls within this Court’s authority to authorize or extend authorization for

the installation and use of pen-trap devices under 18 U.S.C. § 3123(a)(1).

        8.     A “pen register” is “a device or process which records or decodes dialing, routing,

addressing, or signaling information transmitted by an instrument or facility from which a wire or

electronic communication is transmitted.” 18 U.S.C. § 3127(3). A “trap and trace device” is “a



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device or process which captures the incoming electronic or other impulses which identify the

originating number or other dialing, routing, addressing, and signaling information reasonably

likely to identify the source of a wire or electronic communication.” 18 U.S.C. § 3127(4).

       9.      In the traditional telephone context, pen register devices captured the destination

phone numbers of outgoing calls, while trap and trace devices captured the phone numbers of

incoming calls. Similar principles apply to other kinds of wire and electronic communications, as

described below.

       10.     The Internet is a global network of computers and other devices. Devices directly

connected to the Internet are identified by a unique number called an Internet Protocol, or “IP”

address. This number is used to route information between devices. Generally, when one device

requests information from a second device, the requesting device specifies its own IP address so

that the responding device knows where to send its response. An IP address is analogous to a

telephone number and can be recorded by pen-trap devices, and it indicates the online identity of

the communicating device without revealing the communication’s content. There are two types

of IP addresses: dynamic and static. A static IP address is one that is permanently assigned to a

given computer on a network. With dynamic IP addressing, however, each time a computer

establishes an Internet connection, that computer is assigned a different IP address. Based on the

IP address used for a given online transaction, law enforcement may be able to determine the

geographical location of the Internet connection used in the transaction.

       11.     A network is two or more computers or other devices connected to each other that

can exchange information with each other via some transmission method, such as by wires, cables,

or radio waves. The equipment that connects a computer or other device to the network is

commonly referred to as a network adapter. Most network adapters have a Media Access Control



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(“MAC”) address assigned by the manufacturer of the adapter that is designed to be a unique

identifying number.      An adapter’s unique MAC address allows for proper routing of

communications on a local area network and may be used for other purposes, such as

authentication of customers by some network service providers. Unlike a device’s IP address that

often changes each time a device connects to the Internet, a MAC address is fixed at the time of

manufacture of the adapter. Because the address does not change and is intended to be unique, a

MAC address can allow law enforcement to identify whether communications sent or received at

different times are associated with the same adapter.

       12.     On the Internet, data transferred between devices is not sent as a continuous stream,

but rather it is split into discrete packets. Generally, a single communication is sent as a series of

packets. When the packets reach their destination, the receiving device reassembles them into the

complete communication.       Each packet has two parts: a header with routing and control

information, and a payload, which generally contains user data. The header contains non-content

information such as the packet’s source and destination IP addresses and the packet’s size.

       13.     In addition, different Internet applications are associated with different “port

numbers,” or numeric identifiers. The port number is transmitted along with any communication

using that application. For example, port 80 typically is associated with communications involving

the World Wide Web. Port numbers are also used by many wireless carriers as a method for

identifying a particular device on the wireless carrier’s network.

       14.     Facebook owns and operates a free-access social networking website of the same

name that can be accessed at http://www.facebook.com. Facebook allows its users to establish

accounts with Facebook, and users can then use their accounts to share written news, web-postings,

photographs, videos, and other information with other Facebook users, and sometimes with the



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general public. Facebook users can exchange private messages on Facebook with other users.

These messages, which are similar to e-mail messages, are sent to the recipient's "Inbox" on

Facebook, which also stores copies of messages sent by the recipient, as well as other information.

Messages may contain attachments, such as photos, video, and audio recordings. Facebook users

can also post comments on the Facebook profiles of other users or on their own profiles. In

addition, Facebook has a Chat feature and a Video Calling feature, and although Facebook does

not record the calls themselves, it does keep records of the date of each call. Facebook also retains

IP logs for a given user ID or IP address. These logs may contain information about the actions

taken by the user ID or IP address on Facebook, including information about the type of action,

the date and time of the action, and the user ID and IP address associated with the action. For

example, if a user views a Facebook profile, that user's IP log would reflect the fact that the user

viewed the profile, and would show when and from what IP address and port number the user did

so. Information regarding such communication can be recorded by pen-trap devices and can be

used to identify parties to a communication without revealing the communication's contents.

       15.      Activities   by   Instagram   users    (Facebook,    Inc.)   constitute   "electronic

communications" within the meaning of 18 U.S.C. § 3123. See 18 U.S.C. §§ 3127(1) and

2510(12).

                                    THE RELEVANT FACTS

       16.      The United States government, including the Agency, is conducting a fugitive

investigation of                   based on an arrest warrant issued in the United States District

Court for the District of Columbia, on June 15, 2020, for violation of Title 18, United States Code,

Section 1073.      The Instagram account                        was provided to law enforcement

through investigation into                 whereabouts. The account                         contains



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many posts containing photographs and videos o                     Also, the caption for the page is

                              Investigators know                birthday to be

       17.       As described above, the conduct being investigated involves use of the SUBJECT

ACCOUNT.         To further the investigation, investigators need to obtain the dialing, routing,

addressing, and signaling information associated with communications sent to or from, the

SUBJECT ACCOUNT.

       18.       The pen-trap devices sought by this application will record, decode, and/or

capture dialing, routing, addressing, and signaling information associated with each access to,

and with each communication to or from, the SUBJECT ACCOUNT, including the date, time,

and duration of the communication, and the following, without geographic limit:

             ■   Network addresses, including IP addresses and port numbers, associated with
                 access to, and communications to or from, the SUBJECT ACCOUNT;

             ■   MAC addresses, including MAC addresses associated with access to the
                 SUBJECT ACCOUNT;

             ■   Packet headers, including packet headers associated with access to the SUBJECT
                 ACCOUNT;

             ■   Any unique identifiers associated with the device or devices used to access the
                 SUBJECT ACCOUNT;

             ■   Information regarding the source and destination network addresses, as well as
                 routes of transmission and size of Instagram messages, chats, and/or video calls;
                 and

             ■   The number, type, and size of any attachments sent or received by the SUBJECT
                 ACCOUNT.

                                   GOVERNMENT REQUESTS

       19.       For the reasons stated above, the United States requests that the Court enter an

Order authorizing the installation and use of pen-trap devices to record, decode, and/or capture the

dialing, routing, addressing, and signaling information described above for each access to, and


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each communication to or from, the SUBJECT ACCOUNT, to include the date, time, and duration

of the communication, without geographic limit. The United States does not request and does not

seek to obtain the contents of any communications, as defined in 18 U.S.C. § 2510(8).

       20.     The United States further requests that the Court authorize the foregoing installation

and use for a period of sixty days from the date of the Court’s Order, pursuant to 18 U.S.C. §

3123(c)(1).

       21.     The United States further requests, pursuant to 18 U.S.C. §§ 3123(b)(2) and

3124(a)-(b), that the Court order Instagram (Facebook, Inc.) (hereinafter “Service Provider”) and

any other person or entity providing wire or electronic communication service in the United States

whose assistance may facilitate execution of the Order, furnish the Agency forthwith all

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service. Any entity providing such assistance shall be reasonably compensated by the

Agency, pursuant to 18 U.S.C. § 3124(c), for reasonable expenses incurred in providing facilities

and assistance in furtherance of the Order.

       22.     The United States further requests that the Court order the Service Provider and any

other person or entity whose assistance may facilitate execution of this Order to notify the applicant

and the Agency of any changes relating to the SUBJECT ACCOUNT, including changes to

subscriber information, and to provide prior notice to the applicant and the Agency before

terminating or changing service to the SUBJECT ACCOUNT.

       23.     The United States further requests that the Court order that the Agency and the

applicant have access to the information collected by the pen-trap devices as soon as practicable,




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twenty-four hours per day, or at such other times as may be acceptable to them, for the duration of

the Order.

       24.     The United States further requests that the Court order that Attachment A, which is

incorporated by reference in the proposed Order and which identifies the name(s) of the person(s)

under investigation, remain under seal and withheld from service upon the Service Provider. The

information in Attachment A is not needed by the Service Provider, and doing so will help

safeguard both the privacy interests of unindicted and uncharged individuals and the integrity of

the government’s ongoing investigation. As the Court is aware, persons identified by law

enforcement as “subjects” at the investigative stage of a case may ultimately never be indicted or

charged with any crimes. Yet providing the identities of such persons to commercial entities as

“subjects” needlessly exposes those persons to non-law-enforcement entities, and risks further

exposure should service providers become careless with such information or themselves have that

information breached or “hacked” by other parties. At the same time, exposing the identities of

persons considered “subjects” to service providers also puts investigations at risk, inasmuch as

persons who become aware of their identification as “subjects” can flee and destroy evidence, etc.

To be sure, Section 3123(d) contemplates the sealing of the Court’s Order, and that service

providers will comply and keep the existence of the Order secret. But especially in the age of

“internet hacking,” it is unwise to impart identification information to third parties when that

information is simply not required by those third parties and its exposure risks needless harm.

       25.     The United States further requests, pursuant to 18 U.S.C. § 3123(d)(2), that the

Court order the Service Provider and any other person or entity whose assistance facilitates

execution of the Court’s Order, and their agents and employees, not to disclose in any manner,

directly or indirectly, by any action or inaction, the existence of this application and the Court’s



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Order, the resulting pen-trap devices, or this investigation, except as necessary to effectuate the

Order, unless and until authorized by this Court, except that the Service Provider may disclose the

Order to an attorney for the Service Provider for the purpose of receiving legal advice.

       26.     The United States further requests that this application and any resulting Order be

sealed until otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

       27.     The United States further requests that the Clerk of the Court provide the United

States Attorney’s Office with three certified copies of this application and the Court’s Order upon

request, and provide copies of the Order to the Agency upon request.

       28.     The foregoing is based on information provided to me in my official capacity by

agents of the Agency.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on the 30th, day of June, 2020.

                                              Respectfully submitted,

                                              MICHAEL R. SHERWIN
                                              Acting United States Attorney
                                              New York Bar No. 4444188
                                              DC Bar No.


                                              __________/s/_________________
                                              NIHAR MOHANTY
                                              Assistant United States Attorney
                                              DC Bar No. 436686
                                              Violent Crime and Narcotics Trafficking Section
                                              555 4th Street, N.W., Room 4120
                                              Washington, D.C. 20530
                                              Office: (202) 252-7000
                                              Nihar.Mohanty@usdoj.gov




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR                     PR. No. 20-pr-139
 PRTT ORDER FOR ONE INSTAGRAM
 ACCOUNT FOR INVESTIGATION OF
 VIOLATION OF 18 U.S.C. 1073                      Filed Under Seal



                                             ORDER

       Assistant United States Attorney Nihar Mohanty, on behalf of the United States, has

submitted an application pursuant to 18 U.S.C. §§ 3122 and 3123, requesting that the Court issue

an Order authorizing the installation and use of pen registers and trap and trace devices ("pen-trap

devices") on the Instagram (Facebook, Inc.) account identified as                           listed to

(hereinafter "SUBJECT ACCOUNT"), which is believed to be used by one or more persons

identified in Attachment A.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the United States Marshals Service

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, and others as yet unknown or not fully identified, in connection with possible

violations of Title 18, United States Code, Section 1073. The Court further fmds that a sufficient

showing of good cause has been made for the continued sealing of Attachment A and for the

government's withholding of Attachment A from service upon the Service Provider, in order to

help ensure the privacy of the person(s) identified therein and the integrity of the government's

investigation.
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       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication,

and the following, without geographic limit:

              Network addresses, including IP addresses and port numbers, associated with
               access to, and communications to or from, the SUBJECT ACCOUNT;

              MAC addresses, including MAC addresses associated with access to the
               SUBJECT ACCOUNT;

              Packet headers, including packet headers associated with access to the SUBJECT
               ACCOUNT;

              Any unique identifiers associated with the device or devices used to access the
               SUBJECT ACCOUNT;

              Information regarding the source and destination network addresses, as well as
               routes of transmission and size of Instagram (Facebook, Inc.) messages, chats,
               and/or video calls; and

              The number, type, and size of any attachments sent or received by the SUBJECT
               ACCOUNT.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

Instagram (Facebook, Inc.) (hereinafter “Service Provider”) and any other person or entity

providing wire or electronic communication service in the United States whose assistance may,

pursuant to 18 U.S.C. § 3123(a), facilitate the execution of this Order shall, upon service of this

Order, furnish information, facilities, and technical assistance necessary to install the pen-trap

devices, including installation and operation of the pen-trap devices unobtrusively and with

minimum disruption of normal service;


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         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

Service Provider until further order of the Court, and therefore shall be withheld from service upon

the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;




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       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).



                                                      ____________________________
                                                      United States Magistrate Judge




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                                        ATTACHMENT A


Person(s) identified as subject(s) of investigation:
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR                     PR. No. 20-pr-139
 PRTT ORDER FOR ONE INSTAGRAM
 ACCOUNT FOR INVESTIGATION OF
 VIOLATION OF 18 U.S.C. 1073                      Filed Under Seal



                                             ORDER

       Assistant United States Attorney Nihar Mohanty, on behalf of the United States, has

submitted an application pursuant to 18 U.S.C. §§ 3122 and 3123, requesting that the Court issue

an Order authorizing the installation and use of pen registers and trap and trace devices ("pen-trap

devices") on the Instagram (Facebook, Inc.) account identified as                           listed to

(hereinafter "SUBJECT ACCOUNT"), which is believed to be used by one or more persons

identified in Attachment A.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the United States Marshals Service

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, and others as yet unknown or not fully identified, in connection with possible

violations of Title 18, United States Code, Section 1073. The Court further fmds that a sufficient

showing of good cause has been made for the continued sealing of Attachment A and for the

government's withholding of Attachment A from service upon the Service Provider, in order to

help ensure the privacy of the person(s) identified therein and the integrity of the government's

investigation.
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       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each access to, and each communication to

or from, the SUBJECT ACCOUNT, including the date, time, and duration of the communication,

and the following, without geographic limit:

              Network addresses, including IP addresses and port numbers, associated with
               access to, and communications to or from, the SUBJECT ACCOUNT;

              MAC addresses, including MAC addresses associated with access to the
               SUBJECT ACCOUNT;

              Packet headers, including packet headers associated with access to the SUBJECT
               ACCOUNT;

              Any unique identifiers associated with the device or devices used to access the
               SUBJECT ACCOUNT;

              Information regarding the source and destination network addresses, as well as
               routes of transmission and size of Instagram (Facebook, Inc.) messages, chats,
               and/or video calls; and

              The number, type, and size of any attachments sent or received by the SUBJECT
               ACCOUNT.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

Instagram (Facebook, Inc.) (hereinafter “Service Provider”) and any other person or entity

providing wire or electronic communication service in the United States whose assistance may,

pursuant to 18 U.S.C. § 3123(a), facilitate the execution of this Order shall, upon service of this

Order, furnish information, facilities, and technical assistance necessary to install the pen-trap

devices, including installation and operation of the pen-trap devices unobtrusively and with

minimum disruption of normal service;


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         IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

Service Provider until further order of the Court, and therefore shall be withheld from service upon

the Service Provider;

         IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;

         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the SUBJECT ACCOUNT, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the SUBJECT

ACCOUNT;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;




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       IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).                 2020.06.30
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                                                      ____________________________
                                                      United States Magistrate Judge




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                                        ATTACHMENT A


Person(s) identified as subject(s) of investigation:
